 

23’1%;§§§ tetse,if§zg Docure:a'tWF:G%MTOB&Q@ 1 Of 5

JUDICIAL PANEL ON MULTIDISTRICT LITIGATION

TOZ Judicial Panel on Multidistrict Litigation 'I`HIS FORM MUST BE RETURNED
Thurgood Marsttall Federal Judiciary Bldg. 'I`O THE JUDICIAL PANEL N() LATER
One Colurnbus Circle, N.E., Room G-255 THAN §§an E.§.Z.jg Ll_)eee:*nbe; § 1999
Washington, D.C. 20002 I’anel Fax No.: (202) 502»2888

MDL DOCKETNQ. ;3221-- In re Rea!Networks, lnc., Privacy Litigation

NOTICE OF APPEARANCE

,.`
l

o §
PARTIES REPRESEN'I`ED (indicate plaintiff or defendant~-attach list if necessa‘__:r;?): Q;- r- §='<_
j ;§-n 555 ':*:*'::-;J,
n ¢ ¢ \ n .‘~‘.- .' gi
Mr. Mlchael T. Lalr, plaintiff ‘ "’ 'r: eL :;, 55 -`,'-.'.'
C) l :`...’ ""- '_',
-r'! _-, bn re
5 J_l H §`;
m ,...

SHORT CASE CAPTiON(s) (Include District(s), Civil Action No(s).-- attach list if necessary):

 

Lair y. RealNetworks. Inc.. No. C99~1819-C (W.D. Wash_.) -;'-: m

. __ _' _c) r-a
. :_' ';-'- __ z mm
§§ e em
::'>C: *-'J 052
pa_,. CD --
:HP 2§
C)E‘:. ]> “"it__.:

ZC'>rF:“ ._.1 5

mice .'.-_ m

25 .z:

**_:1§=***********1¢*#*#*\i=\!r***$*>i=**‘|¢*¥*l!¢*****$*$***$*\k**#*

In compliance with Rule 5.2(c), R.P.J.P.M.L., 181 F.R.D. l, 6 (1998), the following designated
attorney is authorized to receive service of all pleadings, notices,_ orders, and other papers relating to practice
before the J udicial Pane_l on Multidistrict litigation on behalf of the plaintiff(s)/ defendant(s) indicated I am
aware that only one attorney can be designated for each party.

November; 30, 1999 //%C#W__'

Date _ Sigr`i§tuigof Attorney or Designee

 

 

Name and Address of besignated Attorney: Clif`ford A. CanfOI‘

_ LAW OFFICES op CI,IFFORD A. CANTOR
§ 627 - ZOBth Ave. SE
~`- Redmond, WA 98053-7033

relephone NO.; (425) 368-7313 paxNo_: (425)868-7870

ORlGli\IAL ONLY OF APPEARANCE NEEI)ED BY US FOR FILING
A CERHHCATE OF SERvIcE wILL BE REQU:RED IF me APPBARANCE is RECENE.D AFTER me cage DATB anreo ABovr-.

DFHCEAL F!LE C!)PY Mm 18
-i lN|AGED Uhu a ’99

 

‘

 

DEC lE> 1999 U_WCBSQIZ§MD _BB%RLE;BEER_ nt 2 Filed 12¢5%¢£22@“£1338§@@£§§= P. @2/@3
` _ _ °E°@$sj;l§§jz:§§[§kae ,. m se um MULTIDISTRICTPU LlTIGATroN . l

'r-O minn ma on Mmddisua¢=uug¢uon ms rome mst st mm
Thitl¥cM Mll'_ihll! Fedonl J'udiciu'y Bldg TO m mlm PANEL NO LA'I'ER
` one animus ctr¢!e. N-.E.. aunt 0~2$5 TMMM_

`. wuh;'n"¢mn n _c. zoooz md m N_..= (zoz) soz.zsas
MDL BOCK.BTN\!.132-¢ ha re R¢JINE¢WDI`XS~ mc , PHV¢C’ HLI§I¥|'.QB

No"rtcE oF wymqu
_EARTI-ES mwm}}`-(tndicat§ phintl!!` or d¢{eud¢`ot-a¢tneh }ia¢ announqu
R¢alNeruorks..Ine. 9 bz£endsnt §§ ::§§
' 291 ii gee
ZBF » S§F.'
m O'" Bwr-'-?
@ __4_ J_
“" l 5 §§ ?x_J `;4
SHC_RT_ w¥ CA.P`TIOH{$] Hndude Distric£(s), Civil Aeticn No(s}.- attach lu¢]{;nzce.uar§r) - il .F-'
rlease see a¢:ach¢d 115£.[11 ge

genuineannounce-nn wonuu¢n¢nu¢'n¢uuq

emma assumes 2(¢;. P.I>JP. M..,L 131 nw z. 6 mm ma eugwin¢dmwwd

‘yl.ltornc is wthu:tzxd to receive games cale pleading mem ordm, md other papers relating to practice
behr`¢ the !u£o:'d ?in`=l eq,Mutddistriot L£tigniem on behalfch ptam!if£[s)l

_` two max only one lm¢mbe designated for

_*T a

  

nev

‘\’;n R
Hotr!.;on 8 GF.Q¢¥I;!'¢ LL?
_ _'425 harker Sc:ut: ‘
Si\e ¥r¢nezaeo, ¢A 94.§05-2482

n little lltd.#¢dm of validated A¢tomcy:

TalephoncNo.: _Lit;z_?»{m:» __ FaxNo.: cgt§_} 253-1532_,. .

".s,`:”+ c“')
cinema owe or aren/mca brennan sY us son memo 5 §§
Ac_qnnc»nor_ssmcsmq.augustalrmmmmensmenmn¢ouemrwcom §§
. . _ '\- m
- ' g § »-:PMLO\_FW 153 §
y m '“1_' C:) "<
:_a _4 T`- "9 F“"*
' c:) ';U 57 I> 31 a
' ' 202 213 2612 z§_° :;"99€- 53 Cr?1
ms 24 1959 1435 _ - ' z w

l¢'¢ TOTAL. F'RGE.BZ **

 

nec 85 1999 l'?'la eisza?a§d§ Paoe.m

 

 

“ .’D'="C 96 1999 eg§§@§)r§uwl§§§@@%§ew§z& 2 piled 12/0§?9§295@1§§55?%@@2 ;’-@3/

93

Short Case Caption List
1. Dav:`d Kee£ v. RealNenvor!m', Inc., Westcm District of Washingtoh, No. 99-1817€

2. Mz'chae! T. Lair v. Rea!Nerwor/cs‘, Inc., Western District of Washington, No. C99'-
1819C _
3. E:‘:'ska O!son v. RealNeh/vorks‘, Inc., West¢m District of Washington, No. C99-1835Z

4. Rz‘chard .S’carange¢'£a v. RealNezworks, Inc., Western District of Washington, No.
C99-1865R
5. Ml°chae! Lieschke v. RealNe!works, Inc.-, Northem District of lliinoi§, No. 99C 7274

l 6. Todd Sz`mon v. Rea{NeMorks, Inc., Nor!hem District oleinois, No. 99C 73SQ
7. John Starrett v. RealNehvarlcs, Inc., Eastcm District of Pennsylvania. No. 99-5569
8. Gavz'n Be!! v. RealNehva)-Ics‘, Inc., Eastem District of New York, No. 99 CV73?6
9. Av¢` Mandez` v. RealNe!w§rks, Inc., Easte_m Distdct ochw York, No. 99 CV‘);SSG

10. Jej_']'rey W:‘!ens v. Rea!Nehvorks, Im.-'., Central District of Califomia, `No. SACV99-
1446DOC (A`NX)

:'

Nf`;.f
q f

vsm'l
HU nw ‘z\,

NULL
lS|U|

lam
3013_»10 944
03)\1333%§313

!Z =Uf v q- 339 bbby

ray-240 83 7

 

** TBTQL PQEE.§Z $*

 

__ _ __
v

aseI\/|DL No. 1329 Doc ument2 i|ed12/06/99 P 940

JUDIC1AL PANEL oN MULT,'i ISTRICT ITI<E;ATIQN

 

TO$ ` Judicial Panel on Multidistrict Litigation 'I`HIS FORM MUST BE RE'I`URNED
Thurgood Marshall Federal Judiciary Bldg. TO TI-IE JUDICIAL PANEL NO LATER
One Columbus Circle, N.E., Room G-255 THAN (_F!aon E.S. T.) December 6, 1922
Washington, D.C. 20002 Panel Fax No.: (202) 502-2888

MDL DOCKET No. 1329-- In re RealNetworks, Inc., Privacy Litigation

NOTICE OF APPEA_RANCE ¢-> §§
r_ _,,.._
m _.,_:_,
PARTIES REPRESENTED (indicate plaintiff or defendant--attach list if neces&`§`- )_: § :;-:E§
Michael Lieschke --- Plaintiff 1131m ¥ §§;
Rober-t Jackson ~ Plaintiff ;;,F"l O" :__._gj{;,
Todd Simon - Plaintiff ““3 jj §§Ej;
_n _r‘\ *~{').:._'
c""$ ` -'i"_
1_.1

SI-IORT CASE CAPTION($) (Include District(S), Civil Action No(s).-- attach list if necessary):
In re RealNetworkS. Inc. Litigation, 99 C 7274 {N.D. Illinois)

{Consolidated oh November 16, 1999. Original case captions were:

Lieschke, et al. v. RealNetworks, Inc., 99 C 7274 (N.D. Illinois) 11/8/99
Simon v. RealNetworks Inc., 99 C ?380 (N.D. Illinois) 11/12/99)

15 n

3 53 r-

»{_;j`I' ‘.._.-3 m

~ m aaa
se»r*=1¢=1<=1=1==1<\1=’1=*=1=m1==1=**=1=*=1==1=*=1==1==1==1==1==1¢=1==1=**»1=*=1¢=1==1=»1=1=»1=**=1==1==1=*:'__=1=£§=¥1=»1= "" ftc-3
§CJF' bb corn

In compliance with Rule 5 2(0),R.P.J.P.M.L.,181 F. R. D. l, 6 (1998), the'~`f`ollomng Eljzsigna!§
attorney is authorized to receive service of all pleadings, notices, orders, and othe£m rs relating %;}actice
before the ludicial Panel on Mult1d15trictl.,it1gation on behalf of the pl:».zintii`f(s))f h§ant(s‘§mdicated. l am
aware that only one attorney can be designated for each party.

ll/30/99

Date ' SignMdomey or Designee

Name and Address of Designated Attorney:

Adam J. Levitt, Miller Faucher Cafferty and Wexler LLP, 30 North LaSalle
Street, Suite 3200,l Chicago. Illinois 60602

   
 
 

 

 

'l`elephoneNo.: {312} 782--4880 paxNO.:(?»lZ) ?82--4485

ORIGINAL ONLY OF APPEARANCE NEEDED BY US FOR FILING
A CERT;HCATE oF SERWCE wILL se REQulRED 11= 1115 APPEARANCE ls RECElon AFrER THE olga DATE 1>R1N'1131) ABovE

JPBULFOHRIS

 

 

. ' . 6535 P.@3
., DEC-d_@§l§‘-W 14'4?Case MD:[;_{*_}§EPi-§§’o Documemz Flled 12/;_1_§/99 Pag§i§ oSf“§

TO: mazda Panei on Mul:idisuicz Li:igazion THIS FORM MUST BE RETURNED
Thurgood Marshall F ederal Judiciaxy Bldg. TO 'I`HE JUDICIAL PANEL NO LATER
One Columbus Ciz'c!e, N.E., Room G-255 ’I'HAN on . e her l
Washington, D.C. 20002 Panei Fmt No.: (202) 502-2888

MDI., DOCKET No. 1329--1:1 re RealNetworks, Inc., Privacy Litigation

NOTICE OF APPEA_RANCE
PA.R'I`IES REPRESENTED (indicate plaintiff or defendant--attach list if necessrz_ry): :._;
John Stax:rett, Stephe.n Johns, John P. Meyers, Plainti§§s C;, ,-L-Q'_Z~,
-»“11 §§ L§:
ga *_y
oiz: 1 §=B""
c:)m gm E‘;"_,§;
'11"`_3 _. <`:3§'»'-'1
§ § "“SE
m §.
SHORT CASE CAPTION($) (lnc!ude District(s), Civil Action No(s).- attach fist if necessary):
Starrett, et al. v. RealNétworks, Inc. , Civil Action No. 99-CV-
5569 (CN), United States District Court for the Eastern bistrict
of Pennsylvania

KSIRH**$***#*hx**¥*¢*¢$$*¥**¥***tt**¥*¥$*****$#**$b**

In compliance with Rule 5.2(::), R.P.J.P.M.L., 131 P.R.D. 1, 6 (1998), the following designated
attorney is authorized to receive service of all pleadings, notices, orders, and other papers reiating to practice
before the 3 udicial Panel on Mu}tidistrict litigation on behaif of the plainti&'(s))’ defendant(s) indicated 1 am
aware that only one attorney can be designated for each p .

l 0
3. Z}M_¢!zai~

Date Signature of Attomey or Designee

 

Name and Address of`Designated Attorney: _
David H. Weinstein NUfl'i'Uli
l

, 1'¢
1508 Walnut Street, SuJ‘Lt¢r=,»q $L%FQU}.S@.'_HUJ
Philadelphia, m 19103 9 .-PW r\'!":f"'or‘

§§ '°3 d €-339 haw
TeiephoneNo-; ‘215’ 545-73°° paxNo_:(zw) 545-esse

39?:{30 8

.34&;‘= .
oRIGINAL oNLY oF APPW§§&HDED BY Us FoR FILING

A CERTIF£CATE OF SERVICE WILL BE REQUIR.ED !FTHE A.PPEARA.NCE IS RECEIVED AI"I`ER THE DQE DATE PRB~ITED ABOVE

JPML Form 18

 

TDTQL P . @3

 

